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                             UNITED STATES DISTRICT
                            COURT FOR THE DISTRICT OF
                                   COLUMBIA

UNITED STATES OF AMERICA                                  CRIMINAL NO.

       v.
                                                         VIOLATIONS:
ADAM HAGEMAN,
                                                         18 U.S.C. § 2252(a)(2)
              Defendant                                  (Receipt of Child Pornography)


                                       INFORMATION

       The United States Attorney charges that:

                                        COUNT ONE

       Between the dates of May 1, 2020 and November 12, 2020, in the District of Columbia

and elsewhere, the defendant, ADAM HAGEMAN, did knowingly receive any visual depiction,

using any means and facility of interstate and foreign commerce, and that such visual depiction

has been shipped and transported in and affecting interstate and foreign commerce, by any means

including by computer; and the production of such visual depiction involved the use of a minor

engaging in sexually explicit conduct and such visual depiction is of such conduct.

       (Receipt of Child Pornography, in violation of Title 18, United States Code, Section

2252(a)(2))

                                    MICHAEL SHERWIN
                                    Acting United States Attorney
                                    By: /s//April Nicole Russo
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